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                                                                                                                 AND SRI LANKA




      May 19, 2020

      Via ECF

      The Honorable Laura Taylor Swain                                      MEMO ENDORSED
      U.S.D.C. Southern District of New York
      Room 1620
      500 Pearl Street
      New York, NY 10007

                 Re:       UBIQUITI INC. v. PERASO TECHNOLOGIES INC., et al., 20 Civ. 1312
                           (LTS) (GWG)

      Dear Judge Swain,

              We represent Ubiquiti Inc., the plaintiff in the above-captioned matter. Pursuant to the
      Court’s order of May 15, 2020, we write to advise the Court that the Defendants, through their
      counsel, have stipulated to the filing of the Second Amended Complaint. The parties have also
      stipulated that Plaintiff will file the Second Amended Complaint on or before May 22, 2020, and
      Defendants will respond to the Second Amended Complaint on or before June 12, 2020.

The foregoing stipulated schedule is approved. In light
of the agreed filing of a Second Amended Complaint,
the pending motion to dismiss the Amended                               Respectfully submitted,
Complaint (DE#41) is terminated without prejudice.
SO ORDERED.
/s/ Laura Taylor Swain, USDJ 5/19/2020                                  Mario Aieta

      Attachment

      cc:        Jodyann Galvin, Esq.
                 (counsel for Defendants)




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